                   Case 2:90-cv-00520-KJM-SCR               Document 3022           Filed 09/09/08        Page 1 of 16


              1   PRISON LAW OFFICE                                            ROSEN, BIEN & GALVAN, LLP
                  DONALD SPECTER, Bar No. 83925                                MICHAEL W. BIEN, Bar No. 96891
              2   STEVEN FAMA, Bar No. 99641                                   JANE E. KAHN, Bar No. 112239
                  E. IVAN TRUJILLO, Bar No. 228790                             AMY WHELAN, Bar No. 215675
              3   SARA NORMAN, Bar No. 189536                                  LORI RIFKIN, Bar No. 244081
                  ALISON HARDY, Bar No. 135966                                 LISA ELLS, Bar No. 243657
                  REBEKAH EVENSON, Bar No. 207825                              MARIA V. MORRIS, Bar No. 223903
              4   1917 Fifth Street                                            315 Montgomery Street, 10th Floor
                  Berkeley, CA 94710                                           San Francisco, California 94104
              5   Telephone: (510) 280-2621                                    Telephone: (415) 433-6830
              6   KIRKPATRICK & LOCKHART PRESTON                               BINGHAM, McCUTCHEN, LLP
                  GATES ELLIS LLP                                              WARREN E. GEORGE, Bar No. 53588
              7   JEFFREY L. BORNSTEIN, Bar No. 99358                          Three Embarcadero Center
                  EDWARD P. SANGSTER, Bar No. 121041                           San Francisco, California 94111
              8   RAYMOND E. LOUGHREY, Bar No. 194363                          Telephone: (415) 393-2000
                  55 Second Street, Suite 1700
              9   San Francisco, CA 94105-3493
                  Telephone: (415) 882-8200
             10   THE LEGAL AID SOCIETY –
                  EMPLOYMENT LAW CENTER
             11   CLAUDIA CENTER, Bar No. 158255
                  600 Harrison Street, Suite 120
             12   San Francisco, CA 94107
                  Telephone: (415) 864-8848
             13
                  Attorneys for Plaintiffs
             14
                                       IN THE UNITED STATES DISTRICT COURTS
             15
                                      FOR THE EASTERN DISTRICT OF CALIFORNIA
             16                      AND THE NORTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
             17
                               PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
             18
                  RALPH COLEMAN, et al.,                                    No.: Civ S 90-0520 LKK-JFM P
             19
                                Plaintiffs,                                 THREE-JUDGE COURT
             20         vs.
             21 ARNOLD SCHWARZENEGGER, et al.,
             22           Defendants
                  MARCIANO PLATA ,et al.,                                   No. C01-1351 TEH
             23
                                Plaintiffs,                                 THREE-JUDGE COURT
             24         vs.
                                                                            DECLARATION OF MARIA V. MORRIS
             25 ARNOLD SCHWARZENEGGER, et al.,                              IN OPPOSITION TO DEFENDANTS’
                                                                            REQUEST FOR RECONSIDERATION
                    vs.                                                     OR STAY OF MAGISTRATE JUDGE’S
             26          Defendants                                         AUGUST 29, 2008 ORDER
             27
             28

                      DECLARATION OF MARIA V. MORRIS IN OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OR STAY OF
[238361-1]                        MAGISTRATE JUDGE’S AUGUST 29, 2008 ORDER, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3022           Filed 09/09/08        Page 2 of 16


              1         I, Maria V. Morris, declare as follows:
              2         I am an attorney at law admitted to practice before the Federal District Court for the
              3   Eastern District of California, an associate in the firm Rosen, Bien & Galvan, LLP (“RBG”).
              4         1.      I make this declaration in Opposition to Defendants’ Request for Reconsideration
              5   by the Three-Judge Court of Magistrate Judge’s August 29, 2008 Ruling or, Alternatively,
              6   Request for Stay of Order. I have personal knowledge of the matters set forth herein and if
              7   called as a witness I could and would competently so testify.
              8         2.      I reviewed the chart Plaintiffs maintain of the productions of documents in this
              9   case. Our chart, which is updated as new productions are received, reflects that Defendants
             10   produced 18,426 documents between June 30, 2008 (the date the Coleman Plaintiffs served the
             11   Third Request for Production of Documents), and August 8, 2008 (the date Plaintiffs received
             12   the August 5, 2008 privilege log). These 18,426 documents comprise 41,261 pages.
             13         3.      Attached hereto are true and correct copies of the following documents:
             14                 Exhibit 1:      Orders of the Ninth Circuit Court of Appeals requiring Defendants
             15                                 to dismiss the appeals of the Three-Judge Court’s June 17, 2008
             16                                 and July 8, 2008 Orders denying Defendants’ Requests for
             17                                 Reconsideration of the Magistrate Judge’s Orders regarding the
             18                                 improper withholding of documents or show cause as to why the
             19                                 Ninth Circuit should not dismiss the appeals, dated August 20,
             20                                 2008 and August 26, 2008;
             21                 Exhibit 2:      June 18, 2008 Press Release entitled “CDCR Releases Coordinated
             22                                 Construction Plan to Reduce Overcrowding in State Prison
             23                                 System” showing electronic link to Report “Integrated Strategy to
             24                                 Address Overcrowding in CDCR’s Adult Institutions.” The press
             25                                 release is available online at
             26                                 http://www.cdcr.ca.gov/News/2008_Press_Releases/June_18.html
             27                                 and report itself is available online at
             28                                 http://www.cdcr.ca.gov/News/docs/2008_06_18_REDUCE_overcr
                                                                         1
                      DECLARATION OF MARIA V. MORRIS IN OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OR STAY OF
[238361-1]
                                 MAGISTRATE JUDGE’S AUGUST 29, 2008 ORDER, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR               Document 3022           Filed 09/09/08        Page 3 of 16


              1                                 owding_Docs.pdf; and
              2                 Exhibit 3:      Excerpt of transcript of August 20, 2008 hearing, showing
              3                                 Defendants’ admission that the privilege log did not accurately
              4                                 reflect the author and recipient(s) of documents attached to an e-
              5                                 mail, showing instead only the author and recipients of the e-mail
              6                                 to which they were at some point attached.
              7
              8         I declare under penalty of perjury that the foregoing is true and correct, and that this
              9   declaration was executed this 9th day of September, 2008, in San Francisco, California.
             10
             11                                                            /s/ Maria V. Morris
             12                                                            Maria V. Morris

             13
             14
             15
             16
             17
             18
             19
             20
             21
             22
             23
             24
             25
             26
             27
             28
                                                                         2
                      DECLARATION OF MARIA V. MORRIS IN OPPOSITION TO DEFENDANTS’ REQUEST FOR RECONSIDERATION OR STAY OF
[238361-1]
                                 MAGISTRATE JUDGE’S AUGUST 29, 2008 ORDER, NOS.: CIV S 90-0520 LKK-JFM, C01-1351 TEH
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 4 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 5 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 6 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 7 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 8 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 9 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 10 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 11 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 12 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 13 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 14 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 15 of 16
Case 2:90-cv-00520-KJM-SCR   Document 3022   Filed 09/09/08   Page 16 of 16
